      Case 24-10595-amc                  Doc
 Fill in this information to identify the case:
                                                   Filed 09/26/24 Entered 09/26/24 11:10:32                       Desc Main
                                                   Document      Page 1 of 3
                               (post publication draft)




Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                      12/16

                  an provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim.



 Name of creditor:                                                                Court claim no

 Last 4 digits


 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?




 Part 1:    Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses,                                                                                   . Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
 approved an amount, indicate that approval in parentheses after the date the amount was incurred.

     Description                                                 Dates incurred                                       Amount




                                          Notice of Postpetition Mortgage Fees, Expenses, and Charges                                 1
     Case 24-10595-amc            Doc      Filed 09/26/24 Entered 09/26/24 11:10:32                      Desc Main
                                           Document      Page 2 of 3

                                                                                   if known




Part 2:   Sign Here




 Check the appropriate box.




 I declare under penalty of perjury that the information provided in this claim is true and correct to the best
 of my knowledge, information, and reasonable belief.



                                                                              09/26/2024




                                                                                    __________________




                                   Notice of Postpetition Mortgage Fees, Expenses, and Charges                       2
 Case 24-10595-amc           Doc     Filed 09/26/24 Entered 09/26/24 11:10:32               Desc Main
                                     Document      Page 3 of 3

                      IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF
                              PENNSYLVANIA (Philadelphia)
In Re:                                     Bankruptcy No. 24-10595-AMC
       Kelvin Alvin Lashley                Chapter 13

               Debtor
US Bank Trust National Association, Not In Its
Individual Capacity But Solely As Owner Trustee
For VRMTG Asset Trust
              Movant

          vs.
Kelvin Alvin Lashley,
              Debtor/Respondent

                                       CERTIFICATE OF SERVICE


   I, Danielle Boyle-Ebersole, Esquire, hereby certify that on 09/26/2024, I have served a copy of this
Notice and all attachments to the following by U.S. Mail, postage pre paid and/or via filing with the
US Bankruptcy Court’s CM ECF system.
   Michael A. Cibik, Esquire                          Kelvin Alvin Lashley
   Attorney for Debtors                               4 Donneybrook Lane
   Via ECF                                            Collegeville, PA 19426
                                                      Debtors
   Kenneth E. West, Esquire                           Via First Class Mail
   Chapter 13 Trustee
   Via ECF


                                                 /s/ Danielle Boyle-Ebersole, Esquire
                                                 Danielle Boyle-Ebersole, Esquire
                                                 HLADIK, ONORATO & FEDERMAN, LLP
                                                 298 Wissahickon Avenue
                                                 North Wales, PA 19454
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